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 5 Attorney for Son Hoang

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 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                        )   CASE NO. 11CR-166 - MCE
                                                    )
11                                 Plaintiff,       )
                                                    )
12                                                  )
     v.                                             )
13                                                  )   STIPULATION AND ORDER
                                                    )   CONTINUING DATE FOR JUDGMENT
14 SON HOANG,                                       )   AND SENTENCING
                                                    )
15                                 Defendant.       )
                                                    )
16 __________________________________               )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp, attorney

20 for defendant, SON HOANG, that the current hearing date of May 16, 2013 be vacated and the matter be

21 re-set for June 13, 2013 at 9:00 am. It is respectfully asserted that additional time is needed to fully

22 address some issues detailed in the probation and to provide further mitigation evidence to probation.

23 Dated: May 13, 2013                                    Respectfully submitted.

24                                                                  /s/ Kyle R. Knapp
                                                                  Kyle R. Knapp
25                                                                Attorney for Defendant, Son Hoang

26 Dated: May 13, 2013                                            Respectfully submitted.

27                                                                  /s/ Todd Leras
                                                                  Todd Leras
28                                                                Assistant U.S. Attorney
                                                                  Attorney for Plaintiff
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 1                                                  ORDER

 2

 3         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the May 16, 2103

 4 hearing is vacated and the matter is re-set for judgement and sentencing on June 13, 2013 at 9:00am.

 5         IT IS SO ORDERED.

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 8          Dated: May 20, 2013                ___________________________________________
                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
 9                                             UNITED STATES DISTRICT COURT

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